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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                            Case No. 1:16-CR-67-BLW

       v.                                           MEMORANDUM DECISION AND
                                                    ORDER
SERGIO CHAVEZ-MACIAS, SERGIO
CHAVEZ-VERDUZCO, ARMANDO
OROZCO-GUILLEN

              Defendant.


                                    INTRODUCTION

       The Court has before it motions for acquittal filed by defendants Sergio Chavez-

Macias and Sergio Chavez-Verduzco. The motions are fully briefed and at issue. For the

reasons explained below, the Court will deny both motions.

                            LITIGATION BACKGROUND

       The Superseding Indictment in this case charged three defendants (Sergio Chavez-

Macias, Sergio Chavez-Verduzco, and Armando Orozco-Guillen) with conspiracy to

distribute methamphetamine. It also charged two of those defendants (Chavez-Verduzco

and Chavez-Macias) with four counts of distributing methamphetamine and one count of

operating a continuing criminal enterprise (CCE). Prior to trial, the Government dropped

one of the four distribution counts, and the case went to trial on the remaining five

counts.




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       When the Government rested, the three defendants made motions for acquittal

under Rule 29. The Court reserved ruling on the motions until the jury verdict was

rendered.

       At the conclusion of the trial, the jury rendered a verdict acquitting Orozco-

Guillen on the conspiracy charge, acquitting Chavez-Macias and Chavez-Verduzco on

the three remaining distribution charges, acquitting Chavez-Macias on the CCE charge,

but finding Chavez-Macias and Chavez-Verduzco guilty of the conspiracy charge, and

finding Chavez-Verduzco guilty of the CCE charge.

       Chavez-Macias and Chavez-Verduzco now seek through their motions to be

acquitted of the charges on which they were convicted. The Court will resolve the

motions after reviewing the governing legal standard.

                                   LEGAL STANDARD

       A defendant may move for a judgment of acquittal, or renew such a motion, within

fourteen days after a guilty verdict. Fed. R. Crim. P. 29(c). A motion for acquittal is

reviewed for sufficiency of the evidence. U.S. v. Stoddard, 150 F.3d 1140, 1144 (9th Cir.

1998). “Under that standard, evidence supports a conviction, if, viewed in the light most

favorable to the government, it would allow any rational trier of fact to find the essential

elements of the crime beyond a reasonable doubt.” U.S. v. Graf, 610 F.3d 1148, 1166

(9th Cir. 2010). “In ruling on a Rule 29(c) motion, a district court must bear in mind that

it is the exclusive function of the jury to determine the credibility of witnesses, resolve

evidentiary conflicts, and draw reasonable inferences from proven facts. U.S. v. Rojas,

554 F.2d 938, 943 (9th Cir. 1977). The court may reserve decision and decide the motion

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after a verdict of guilty if it chooses. Fed. R. Crim. P. 29(b). If the court reserves

decision, it must decide the motion on the basis of the evidence at the time the ruling was

reserved. Id.

                                        ANALYSIS

Conspiracy

       The Indictment charged Chavez-Macias and Chavez-Verduzco with conspiring

together (and with Armando Orozco-Guillen) to distribute methamphetamine between

November of 2012 and continuing to March 1, 2016. To prove this conspiracy, the

Government had to prove more than just that Chavez-Macias and Chavez-Verduzco sold

drugs to someone else knowing that the buyer would later sell to others; the Government

had to show an agreement with a buyer that the buyer would distribute the drugs. U.S. v.

Loveland, 825 F.3d 555 (9th Cir. 2016).

       The main evidence tying the two defendants to the conspiracy charge came from

witnesses Sgt. Kevin Louwsma and David Wales. Wales testified that in the summer of

2015, he was distributing methamphetamine to an individual named Jimmy Peirsol on a

weekly basis, and had been doing so for between 7 months and a year. Wales also

testified that he was receiving methamphetamine from a Brian Cluff.

       Wales testified that Cluff asked him if he wanted to meet with Cluff’s source of

supply. The source was looking to expand his distribution network, and Wales agreed to

meet with him. They met in a hotel room, and Cluff introduced three men to Wales as his

source of supply. Two of the men were introduced to Wales as a father and his son.

During his testimony, Wales identified the father and son as Chavez-Macias (son) and

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Chavez-Verduzco (father).1 Wales testified that the son was translating English into

Spanish for the father, and that he recognized them both from seeing them at Peirsol’s

shop. Wales testified that Peirsol’s source of supply was Chavez-Macias and Chavez-

Verduzco.

         The purpose of this hotel meeting was to discuss the possibility of Wales

becoming a distributor for the Chavezes. At this meeting, Wales arranged to receive

from the Chavezes 5 kilos of methamphetamine at a later date, and discussed doing future

deals.

         Shortly thereafter, Wales received a call from “junior” – Chavez-Macias – that he

was dropping off methamphetamine at Cluff’s shop. An hour or two later, Cluff called

Wales and told him a shipment of methamphetamine was ready to be picked up. Wales

distributed that methamphetamine, and later paid Chavez-Macias the agreed-upon price

for the drugs.

         Sgt. Louswma, an undercover officer who bought drugs from Cluff, testified that

Cluff told him that his source of supply was a father and son from the Twin Falls area,

which is the area where Chavez-Macias and Chavez-Verduzco were living at the time.

On January 27, 2016, Cluff told Sgt. Louwsma that his source of supply was on their way

to Cluff’s shop. Shortly thereafter officers saw the defendants’ black Yukon arrive


         1
         Although Wales had earlier stated that Chavez-Verduzco had visible silver in his
teeth – a feature not visible in the courtroom – he nevertheless identified Chavez-
Verduzco as the father who he met with in the hotel room, and the jury obviously was
convinced by that courtroom identification and discounted Wales’s earlier inaccurate
description.

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occupied by Sergio Chavez-Macias and two other individuals. The following morning,

Cluff says his source had come and brought more methamphetamine.

       Through other witnesses, evidence was introduced regarding text messages on

Chavez-Verduzco’s phone appearing to show he was negotiating prices and deliveries of

controlled substances. Other text messages on Orozco-Guillen’s cell phone show that

Chavez-Macias was doing the same thing.

       This evidence, viewed in a light most favorable to the Government, would allow

any rational trier of fact to find the essential elements of a conspiracy beyond a

reasonable doubt.” Graf, 610 F.3d at 1166. The motions for acquittal regarding the

conspiracy convictions will be denied.

CCE Charge

       Only Chavez-Verduzco was convicted on the CCE count. The Court instructed

the jury on the CCE count as follows in Instruction 20:

          The defendants Sergio Chavez-Macias and Sergio Chavez-Verduzco are
          charged in Count Six of the indictment with engaging in a continuing
          criminal enterprise in violation of Section 848 of Title 21 of the United
          States Code. In order for a particular defendant to be found guilty of that
          charge, the government must prove each of the following elements beyond
          a reasonable doubt as to that defendant:
     1.   The defendant committed the violations of 21 U.S.C. §§ 841(a)(1), 843(b),
          846, and 856 which violations include but are not limited to, the substantive
          violations alleged in Counts One, Three, Four, and Five.
     2.   The violations were part of a series of three or more violations committed
          by the defendant over a definite period of time, with the jury unanimously
          finding that the defendant committed each of at least three such violations.
     3.   The defendant committed the violations together with five or more other
          persons. The government does not have to prove that all five or more of the
          other persons operated together at the same time, or that the defendant knew
          all of them;
     4.   The defendant acted as an organizer, supervisor or manager of the five or
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        more other persons; and
     5. The defendant obtained substantial income or resources from the
        violations.
        “Income or resources” means receipts of money or property.

       Although the jury acquitted Chavez-Verduzco on the three distribution Counts

(Counts Three, Four, and Five), the jury may rely on uncharged offenses to meet the

predicate offenses requirement. U.S. v. Sterling, 742 F.2d 521, 526 (9th Cir.1984)

(“[T]here is no legal requirement that the violations which make up the continuing series

be specifically listed in the indictment.”).

       The conspiracy conviction counts as one of the required three predicate offenses.

U.S. v. Hernandez-Escarsega, 886 F.2d 1560, 1570 (9th Cir.1989). And a text message

chain from Chavez-Verduzco’s cell phone (occurring on December 15 and 16, 2017),

constitutes a second predicate offense as it shows a drug deal for one kilo of

methamphetamine being sold for $6500. That drug offense was not listed in the Counts

for which Chavez-Verduzco was acquitted so it could legitimately be counted as a second

predicate offense.

       The third predicate offense is established by the testimony of Wales that over a

period lasting from early 2015 until the summer of 2015, he purchased methamphetamine

from Jimmy Peirsol, and learned that Peirsol’s source of supply was Chavez-Verduzco.

Similarly, Wales testified he bought methamphetamine from Brian Cluff and learned that

Cluff’s source of supply was also Chavez-Verduzco.

       The CCE count also required that the Government establish that Chavez-Verduzco

managed or supervised five other individuals. The evidence showed that he supervised or


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managed (1) his son Chavez-Macias; (2) Brian Cluff; (3) Jimmy Peirsol; (4) David

Wales; and (5) multiple drivers who picked up and delivered drug money, including

Orozco-Guillen. Although the jury did not find that Orozco-Guillen knowingly

participated in the conspiracy, the evidence showed that he was transporting drug money

for Chavez-Verduzco, even if he thought the money was payment for roosters or

vehicles. The evidence also showed that Chavez-Verduzco received substantial income

from the drug deals.

      Because all the elements of the CCE offense were established by the Government,

the Court will deny the motion for acquittal by Chavez-Verduzco.

                                       ORDER

      In accordance with the Memorandum Decision set forth above,

      NOW THEREFORE IT IS HEREBY ORDERED, that the motions for acquittal

(docket nos. 144 & 145) are DENIED.



                                               DATED: November 13, 2017


                                               _________________________
                                               B. Lynn Winmill
                                               Chief Judge
                                               United States District Court




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